Case 2:12-cv-00534-LRS      ECF No. 21   filed 03/06/14   PageID.69 Page 1 of 3




 1   Rebecca Pennell
     Federal Defenders of Eastern Washington and Idaho
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     Yakima, Washington 98901
 3   (509) 248-8920

 4   Attorneys for Defendant

 5                           UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF WASHINGTON
 6

 7   UNITED STATES OF AMERICA,             )       CV-12-0534-LRS
                                           )
 8             Plaintiff,                  )       Declaration of Counsel
                                           )
 9     Vs.                                 )
                                           )
10   $12,094.42 U.S. CURRENCY,             )
                                           )
11                                         )
               Defendant.                  )
12                                         )

13   To:     MICHAEL C. ORMSBY, United States Attorney
             JAMES A. GOEKE, Assistant United States Attorney
14

15           Pursuant to 28 U.S.C. § 1746, I, Rebecca L. Pennell, declare under

16   penalty of perjury that the following is true and correct:

17   1. On July 12, 2013, the Court appointed the Federal Defenders as

18   counsel for Mr. Isaac Glen Aguigui, based upon his alleged interest in

19   the current in rem proceeding. ECF No. 18. The undersigned filed a

20   notice of appearance in response to the Court’s order of appointment.

21   2. Mr. Aguigui is currently in custody in the State of Georgia. The

22   undersigned has been in contact with Mr. Aguigui’s appointed counsel in

23   Georgia, Newell Hamilton. According to Mr. Hamilton as well as records

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     Declaration of Counsel                    1
Case 2:12-cv-00534-LRS   ECF No. 21   filed 03/06/14   PageID.70 Page 2 of 3




 1   received from Georgia, Mr. Aguigui was convicted of two counts of

 2   murder and four counts of street gang terrorism in Long County Georgia

 3   on July 19, 2013, pursuant to a negotiated plea. Exhibits A and B. Mr.

 4   Aguigui was sentence to life without the possibility of parole, along with

 5   concurrent 15 year sentences. Exhibit A at 2. Pursuant to the terms of

 6   his plea, Mr. Aguigui agreed to forfeit “all assets and property”

 7   previously “seized by the government in 2012 from this Defendant under

 8   violations of federal law.” Exhibit A at 3.

 9   3. The undersigned has confirmed with Mr. Hamilton that Mr. Aguigui’s

10   negotiated resolution in the Georgia case contemplated forfeiture of the

11   assets at issue in this matter. Indeed, the current complaint indicates

12   that the assets at issue were seized by the FBI on or about March 9,

13   2012. ECF No. 1. at 7. Thus, they are covered by the plain terms of Mr.

14   Aguigui’s judgment. Exhibit A at 3.

15   4. Given the foregoing circumstances, it appears that there is no

16   impediment to the Court issuing a default judgment in favor of the

17   government in this case.

18   5. Once judgment is entered, the undersigned would request that the

19   Court issue an order relieving the Federal Defenders of further

20   representation in this matter.

21   //

22   //

23   //

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     Declaration of Counsel                 2
Case 2:12-cv-00534-LRS   ECF No. 21   filed 03/06/14   PageID.71 Page 3 of 3




 1
     Dated:    March 6, 2014 in Yakima County, Washington
 2
                                 Respectfully Submitted,
 3
                                 S/ Rebecca Pennell
 4                               Rebecca Pennell, WA 27851
                                 Attorneys for Isaac Glen Aguigui
 5                               Federal Defenders of
                                 Eastern Washington and Idaho
 6                               306 East Chestnut Avenue
                                 Yakima, Washington 98901
 7                               (509) 248-8920
                                 (509) 248-9118
 8                               Email: Rebecca_Pennell@fd.org

 9                        CERTIFICATE OF SERVICE

10        I hereby certify that on March 6, 2014, I electronically filed the

11   foregoing with the Clerk of the Court using the CM/ECF System which

12   will send notification of such filing to the following: JAMES A. GOEKE,

13   Assistant United States Attorney.

14
                                 S/ Rebecca Pennell
15                               Rebecca Pennell, WA 27851
                                 Attorneys for Isaac Glen Aguigui
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     Declaration of Counsel                 3
